Case 2:16-cv-00755-JES-MRM Document 26 Filed 06/08/17 Page 1 of 6 PagelD 53

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
FORT MYERS DIVISION
GABRIELE GOERN,
Plaintiff,
Vs. CASE No.: 2:16-cv-00755-UA-MRM
EVERGLADES DAY SAFARI, INC.,

Defendant.

SETTLEMENT AGREEMENT AND GENERAL RELEASE

 

This Settlement Agreement and General Release ("Agreement") is made by and between
(“Plaintiff”) and. (“the Defendant”).

RECITALS

WHEREAS, GABRIELE GOERN, filed a lawsuit against the Defendant captioned 2:16-
cv-00755-UA-MRM (“Action”) alleging that the Defendant is liable to her for, among other
things, unpaid overtime, liquidated damages, penalties, attorney’s fees, and/or interest under the
Fair Labor Standards Act, 29 U.S.C. § 201 et seq. and its implementing regulations, which the
Defendant has from the outset denied and continues to deny; and,

WHEREAS, the parties and their counsel have considered that the interests of all
concerned are best served by compromise, settlement and the dismissal of the Action with
prejudice, and have concluded that the terms of this Agreement are fair, reasonable, adequate,

and in their mutual best interests; and,
Case 2:16-cv-00755-JES-MRM Document 26 Filed 06/08/17 Page 2 of 6 PagelD 54

WHEREAS, to the extent there may be monies owed to Plaintiff under the Fair Labor
Standards Act, the parties acknowledge there is a genuine good faith dispute over, among other
things, number of hours worked; and,

WHEREAS, the parties, through counsel experienced in wage and hour law, have
reviewed relevant documents and engaged in settlement negotiations, and as a result have agreed
to settle the issues, matters and things in dispute among them in the Action and any other claims
Plaintiff has or may have against the Defendant, pursuant to the terms of this Agreement; and,

NOW THEREFORE, in consideration of the mutual terms, conditions and covenants
herein set forth, the parties hereto agree as follows:

1. Compromise Acknowledgment and Non-Admission

Plaintiff acknowledges and agrees that this Agreement and the consideration provided
have been and are made and received solely on the basis of a compromise of disputed claims,
and that this Agreement is not, and is not to be construed as, an admission by the Defendant of
any liability or wrongdoing whatsoever, nor is it, nor shall it be construed as, an admission of
any act or fact whatsoever, including but not limited to any violation of federal, state, local, or
common law, statute, ordinance, directive, regulation, or order (including executive orders).

2. Settlement Amount

(a) Except as described herein, in consideration for all of the terms, conditions and
undertakings by or related to Plaintiff in this Agreement and the mutual promises and
covenants contained herein, all parties intending to be legally bound by this Agreement,
the Defendant will cause to be paid to Plaintiff the amount set forth below representing
alleged back wages and attorney’s fees and costs as set forth herein. This is an amount
agreed to among the parties to compromise, settle and satisfy the disputed claims of

Plaintiff and includes all claims which Plaintiff may have against the Defendant and any
Case 2:16-cv-00755-JES-MRM Document 26 Filed 06/08/17 Page 3 of 6 PagelD 55

(b)

(c)

(d)

of the Releasees as set forth below, including claims for back wages and/or benefits,
liquidated damages, retaliation, interest, costs, taxable costs, attorney’s fees, and all other
legal or equitable damages to which Plaintiff may be entitled, all of which the Defendant
disputes. The parties agree that the Defendant has a good faith basis for its position that
Plaintiff was paid for all hours worked.

The payment shall be made as follows: The Defendant shall issue a certified check, money
order, or other cleared funds made payable to the “Lusk, Drasites, & Tolisano, P.A. Trust
Fund” in the amount of Three Thousand Four Hundred Dollars ($3,400) for attorney’s
fees and Five Hundred Fifty Four Dollars and Thirty Cents ($554.30) within twenty (20)
days of the Court’s approval of this settlement agreement. A second payment in the
amount of Four Thousand Five Hundred Forty Five Dollars and Seventy Cents
($4,545.70) within forty (40) days of the Court’s approval of this settlement agreement
made payable to the “Lusk, Drasites, & Tolisano, P.A. Trust Fund”. Upon receipt of the
second payment, the parties will file a joint notice of dismissal with prejudice. If any
settlement payments due and owing are not paid within the time constraints described
above, the Defendant agrees to pay Plaintiff's costs, including reasonable attorney’s fees
related to the efforts to obtain payment. The check constitutes the payment of plaintiff's
alleged unpaid wages and payment of all reasonable attorney’s fees and costs.

All settlement checks including the attorney’s fee check described herein shall be sent to
Leon Walsh, Esq., Lusk, Drasites & Tolisano, P.A., 202 Del Prado Boulevard South,
Cape Coral, Florida 33990.

Plaintiff, and Plaintiff Counsel, are solely responsible for complying with any and all
taxing obligations arising from receipt of their respective portions of the settlement

amounts paid herein.
Case 2:16-cv-00755-JES-MRM Document 26 Filed 06/08/17 Page 4 of 6 PagelD 56

3. Plaintiff's Waiver and General Release

In exchange for the consideration provided for in this Agreement, Plaintiff hereby
unconditionally releases the Defendant, from any and all claims, complaints, suits, controversies,
damages, liabilities, and expenses of any nature whatsoever related to her employment by the
Defendant.
4. No Other Payment Due
Except as specifically provided in this Agreement, Plaintiff agrees that she is not entitled to any
other payments for salary, benefits, wages, bonuses, allowances, compensatory time, severance
pay, notice pay, vacation or holidays, accrued leave, paid leave, or any other form or kind of
payment or compensation from the Defendant.
5. Dismissal of Action

Upon receipt of the second payment, the parties will file a joint notice of dismissal with
prejudice. If any settlement payments due and owing are not paid within the time constraints
described above, the Defendant agrees to pay Plaintiff's costs, including reasonable attorney’s
fees related to the efforts to obtain payment. The check constitutes the payment of plaintiff's
unpaid wages and payment of all reasonable attorney’s fees and costs.
6. Entire Agreement

Plaintiff represents and acknowledges that she has carefully reviewed each and every
word of this Agreement to ensure complete understanding of the Agreement's full effect and that
it contains the entire understanding between him and the Defendant and that he is not relying
upon any representations or statements, written or oral, made by or on behalf of the Defendant

not set forth herein,
Case 2:16-cv-00755-JES-MRM Document 26 Filed 06/08/17 Page 5 of 6 PagelD 57

7. Waiver and Modification

This Agreement may not be modified or amended, nor may any right or obligation set
forth herein be waived, except in a writing signed by each of the parties hereto with at least the
same formalities as are observed herein. A waiver as to any particular term shall not operate as a
waiver as to any other terms.
8. Construction
The language of all parts of this Agreement shall in all cases be construed as a whole according
to its fair meaning, and not strictly for or against any of the parties, regardiess of who drafted it.
9. Severability Clause

If any term or provision of this Agreement is held to be invalid or unenforceable, the
remaining portions of this Agreement will continue to be valid and will be performed, construed
and enforced to the fullest extent permitted by law, and the invalid or unenforceable term will be
deemed amended and limited in accordance with the intent of the parties, as determined from the
fact of the Agreement, to the extent necessary to permit the maximum enforceability or
validation of the term or provision; provided, however, that upon any finding by a court of
competent jurisdiction or governmental agency that any of the releases provided for in paragraph
3 are illegal, void, or unenforceable, or not entered into knowingly and voluntarily or otherwise
ineffective, Plaintiff agrees to promptly execute a release, waiver and/or covenant that is legal
and enforceable.
10. Governing Law

This Agreement shall be governed by and interpreted in accordance with the laws of the

State of Florida without regard to Florida’s conflict of law provisions.
Case 2:16-cv-00755-JES-MRM Document 26 Filed 06/08/17 Page 6 of 6 PagelD 58

11. Authorization

The parties warrant and represent that she/it has the power to enter into this Agreement.
Each of the corporate entities that are party to this Agreement also warrants and represents that
the person executing this Agreement on its behalf has been authorized to do so by any and all
appropriate corporate bodies. Each of the undersigned represents and warrants that he has the
authority and capacity to act on behalf of the entity on behalf of whom he signed this Agreement
and bind then to the terms and conditions of this Settlement Agreement.
12. Binding Agreement

This Agreement shall be binding upon and inure to the benefit of the parties and their
heirs, executors, administrators, successors and assigns.

IN WITNESS WHEREOF, the parties have executed and delivered this Agreement on

the dates indicated below.

 

 

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Everglades Day Safari, Inc.
